        Case 1:21-mi-55555-JPB Document 535-19 Filed 04/24/23 Page 1 of 3
                                          Ex. Q
     LORI WURTZ· 30(b)(6)                                         March 09, 2023
     IN RE GEORGIA SENATE BILL 202                                             1

·1· · · · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA

·3· · · · · · · · · · · · ATLANTA DIVISION

·4

·5

·6· ·IN RE GEORGIA SENATE BILL 202· · · · · Master Case No:
· · · · · · · · · · · · · · · · · · · · · · 1:21-MI-55555-JPB
·7· ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

·8

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11· · · · · · · · · · 30(B)(6) DEPOSITION OF

12· · · · HALL COUNTY BOARD OF ELECTIONS AND REGISTRATION

13· · · · · · · · · · · · ·(LORI WURTZ)

14· · · · · · · · · · · · ·March 9, 2023

15· · · · · · · · · · · · · ·9:35 a.m.

16· · · · · · · · · · 2875 Browns Bridge Road

17· · · · · · · · · Gainesville, Georgia 30504

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· · · · · · · · · · Marcella Daughtry, RPR, RMR
22· · · · · · Georgia License No. 6595-1471-3597-5424
· · · · · · · · · · · California CSR No. 14315
23

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                                                            EsquireSolutions.com
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   LORI WURTZ· 30(b)(6)                                         March 09, 2023
   IN RE GEORGIA SENATE BILL 202                                            61

·1· ·monitor, and they monitor the line all throughout the
·2· ·day, inside and outside, if there is one outside.
·3· · · · Q· ·If the ban on line relief activities in S.B.
·4· ·202 were to be changed or removed, would your office have
·5· ·to undertake any changes to adapt to that change?
·6· · · · A· ·I don't believe so.
·7· · · · Q· ·Okay.· Are you familiar with the changes in
·8· ·S.B. 202 relating to out-of-precinct provisional voting?
·9· · · · A· ·Yes.
10· · · · Q· ·It's your understanding that someone who
11· ·arrives before 5:00 p.m. cannot vote provisionally out of
12· ·precinct, correct?
13· · · · A· ·Yes.
14· · · · Q· ·Before S.B. 202 was passed, how would a poll
15· ·worker process an out-of-precinct provisional ballot?
16· · · · A· ·They would pull a ballot that closely -- as
17· ·closely as possible matches the voter's ballot and give
18· ·that to them to vote.
19· · · · Q· ·And so when a voter came in to the wrong
20· ·polling location and interacted with the poll worker, the
21· ·poll worker would provide them with an out-of-precinct
22· ·ballot, correct?
23· · · · A· ·Correct.
24· · · · Q· ·In your experience or in your knowledge, do
25· ·some voters go to the wrong polling place because they


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      LORI WURTZ· 30(b)(6)                                                 March 09, 2023
      IN RE GEORGIA SENATE BILL 202                                                   170

·1· · · · · · · · · · CERTIFICATE OF REPORTER

·2· ·STATE OF GEORGIA· · )
· · · · · · · · · · · · ·)
·3· ·COUNTY OF DEKALB· · )

·4

·5·   · · · · · · · · ·I, Marcella Daughtry, a Certified
· ·   ·Reporter in the State of Georgia and State of California,
·6·   ·do hereby certify that the foregoing deposition was taken
· ·   ·before me in the County of DeKalb, State of Georgia; that
·7·   ·an oath or affirmation was duly administered to the
· ·   ·witness, LORI WURTZ; that the questions propounded to the
·8·   ·witness and the answers of the witness thereto were taken
· ·   ·down by me in shorthand and thereafter reduced to
·9·   ·typewriting; that the transcript is a full, true and
· ·   ·accurate record of the proceeding, all done to the best
10·   ·of my skill and ability;

11·   · · · · · The witness herein, LORI WURTZ, has requested
· ·   ·signature.
12
· ·   · · · · · I FURTHER CERTIFY that I am in no way related
13·   ·to any of the parties nor am I in any way interested in
· ·   ·the outcome hereof.
14

15· · · · · · IN WITNESS WHEREOF, I have set my hand in my
· · ·office in the County of DeKalb, State of Georgia, this
16· ·21st day of March, 2023.

17

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· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ______________________________
20·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   Marcella Daughtry, RPR, RMR
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   GA License No.
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· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   California CSR No. 14315
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